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DoNALD R. DePRIEsT, U.S.USTR@CIGG.HT

W OFTN.MEW\“TB
Plaintiff,

No. 02-2177 Ml/An
v.

ELLEN HARDYMON, and MSB
FINANCIAL SERVICES CORP.,

Vv\d\-fv§_#vvvv

Defendants.

 

ORDER GRANTING DEFENDANT MSB FINANCIAL SERVICES CORPORATION'S
MOTION FOR ATTORNEYS' FEES

 

Before the Court is Defendant MSB Financial Services
Corporation's Motion for Attorneys' Fees, filed July 15, 2005.
Plaintiff responded in opposition on August 15, 2005. For the
following reasons, Defendant's motion is GRANTED.

I. BACKGROUND

The instant case arose out of Defendants’ sale to Plaintiff
of stock in a Tennessee corporation on November 15, 1999.
Plaintiff subsequently filed the instant suit, claiming that
Defendants misrepresented or failed to disclose material facts
relating to the transaction. Defendant MSB Financial Services
Corporation (“MSB”) counterclaimed against Plaintiff for the
balance due under a promissory note tendered as part of the
consideration for the stock. A non-jury trial was held on April

25 and 26, 2005. After trial, the Court ruled in favor of

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Defendants on all of Plaintiff’s claims and in favor of MSB on
its counterclaim for the amount due under the note. {See Court's
Decision and Entry, May 5, 2005 (Docket No. 75).)

The Court's May 5, 2005, Minute entry noted that MSB is also
entitled to receive litigation expenses and reasonable attorney’s
fees and MSB was allowed to submit an application for fees and
expenses.1 On May 26, 2005, MSB submitted an application for an
award of $256,761.61 in attorneys’ fees and expenses incurred
throughout this litigation. On June 30, 2005, the Court entered
an order denying MSB's fee application, without prejudicer and
granting MSB leave to submit a revised fee application that
requested and itemized only costs and expenses of its
counterclaim to collect on the relevant note.

As the Court noted in its June 30, 2005, order, MSB's

entitlement to reasonable costs and attorneys’ fees arises from

 

l The section of the Court’s May 5, 2005, Decision that

specified MSB's entitlement to litigation expenses and reasonable

attorneys’ fees reads as follows:
With regard to the counterclaim, the Court finds that
Defendant MSB has met its burden of proof. MSB is the
current holder of the Note. Plaintiff has failed to
pay in accordance of the terms of the Note. The unpaid
principal balance due on the Note is $105,093.61. As
of May 5, 2005, the interest due on the Note is
$38,075.55. Defendant is therefore entitled to a
judgment in the amount of $143,169.16. Defendant also
is entitled to receive litigation expenses and
reasonable attorney fees. Defendant is therefore
directed to submit an application for fees and
expenses.

{May 5, 2005, Decision and Entry at 6.}

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the terms of the promissory note between the parties. That note
states: “[i]f suit is brought to collect this Note, the Note
holder shall be entitled to collect all reasonable costs and
expenses of suitr including, but not limited to, reasonable
attorney's fees.” (Trial Ex. 2.)

II. LEGAL STANDARD

The primary concern in an attorney’s fee case is that the
fee awarded be reasonable. Reed v. Rhodes, 179 F.3d 453, 471
(6th Cir. 1999)(citing Blum v. Stenson, 465 U.S. 886, 893
{1984)).2 “The party seeking attorneys fees bears the burden of
documenting [its] entitlement to the award.” §§ed, 179 F.3d at
472 (citing Webb v. Dver CountV Bd. of Educ., 471 U.S. 234, 242
(1985)). A fee applicant is required to submit evidence
supporting the hours worked and the rates claimed. ld; (citing
Henslev v. Eckerhart, 461 U.S. 424r 433 (1983)). “Where the
documentation of hours is inadequate, the district court may
reduce the award accordingly." ld; (quoting Hensley, 461 U.S. at
433). A fee applicant must make a good faith effort to exclude
from a fee request hours that are excessive, redundant, or

otherwise unnecessary. Hensle , 461 U.S. at 434.

 

2 Although Reed involved a fee award pursuant to 42 U.S.C. §
1988, the Court nonetheless finds its holding applicable to the
instant case.

 

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III. ANALYSIS

In support of its fee application, MSB submitted the
affidavits of Keith Shumate, Esq. and William M. Jeter, Esq., as
well as billing invoices noting the fees for which MSB was
charged. MSB also attached a spreadsheet to its request that
indicated the number of hours charged and billing rate for each
individual billing entry, as well as an adjusted number of hours
indicating the portion of each entry that MSB assigned to its
prosecution of its counterclaim regarding the promissory note.
(See Def. MSB Financial Services Corp.'s Mot. for Aty.’s Fees,
Ex. C.)

A review of the spreadsheet attached to MSB’s motion
indicates that, in general, MSB has assigned half or less than
half of the time billed in each entry to its prosecution of its
counterclaim. This calculation resulted in a reduction of its
original request for attorney’s fees and costs from $256,761.61
to $76,499.54, which represents 29.8% of the total fees and
expenses it incurred in this case. ln making these calculationsr
the Court finds that MSB made a good faith effort to identify, as
best it could, what charges were reasonably attributable to MSB's
counterclaim. However, the spreadsheet submitted by MSB
concededly represents and approximation, at best, of which fees

were attributable to the prosecution of its counterclaim.

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MSB’s counterclaim involved a promissory note in the amount
of $157,640.42. MSB's revised attorney’s fee and costs request
represents 48.5% of the value of that note. Moreover, the
prosecution of MSB’s counterclaim did not involve any complicated
legal or factual issues or extensive discovery. In particular,
the proof regarding MSB's counterclaim at trial primarily
involved the testimony of Ms. Ellen Hardymon that Plaintiff had
made one payment on the note and not made any further payments,
as well as the submission of documentation regarding Plaintiff's
payment pursuant to the note and the interest that had accrued
since that payment. Plaintiff did not contest his liability with
respect to the note, outside of his affirmative claims of fraud
against Defendants.

In light of the entire record and the parties' submissions,
thenr the Court finds that it would be unreasonable and excessive
to allow MSB to collect the amount of attorney’s fees and costs
claimed. Rather, the Court finds that a 50% reduction in MSB's
request will properly and reasonably compensate Defendant for the
legal fees and expenses actually incurred in prosecuting MSB's
counterclaim. Accordingly, MSB’s motion for attorney’s fees and
costs is GRANTED and MSB is hereby awarded $38,249.77 in

attorney’s fees and costs.

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IV. CONCLUSION

For the reasons stated, MSB is awarded $38,249.77 in

attorney’s fees and costs.

So ORDERED this é_qp day of August,. 2005.

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JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

   

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Honorable J on McCalla
US DISTRICT COURT

